                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


DANE HARREL, et al.,
     Plaintiffs,
                                         Case No. 3:23-cv-141-SPM
            vs.

KWAME RAOUL, et al.,
    Defendants.


FEDERAL FIREARMS
LICENSEES OF ILLINOIS, et al.,
     Plaintiffs,

            vs.                          Case No. 3:23-cv-215-SPM

JAY ROBERT “J.B.” PRITZKER, et al.,
      Defendants.


CALEB BARNETT, et al.,
     Plaintiffs,

            vs.                          Case No. 3:23-cv-209-SPM

KWAME RAOUL, et al.,
    Defendants.

                                         Case No. 3:23-cv-192-SPM
JEREMY W. LANGLEY, et al.,
     Plaintiffs,

            vs.

BRENDAN KELLY, et al.,
     Defendants.


  AGREED MOTION FOR ENTRY OF PROPOSED STIPULATION REGARDING
         COORDINATED PRELIMINARY INJUNCTION BRIEFING
        Counsel from the Office of the Attorney General of Illinois bring this agreed motion on

behalf of the officials of the State of Illinois named as Defendants in one or more of the above-

captioned cases, specifically: Brendan Kelly, in his official capacity as Director of the Illinois State

Police; Kwame Raoul, in his official capacity as Attorney General of Illinois; and JB Pritzker, in

his official capacity as Governor of Illinois (collectively, the “State Defendants”). With the

agreement of all Plaintiffs named in the above-captioned cases, the State Defendants move for

entry of the agreed stipulation submitted simultaneously to the Court’s proposed order inbox and,

in support of this request, state as follows:

        1.      All Plaintiffs in the above-captioned, separate actions have pending before this

Court their respective complaints wherein they raise various challenges to the implementa tio n

and/or enforcement of Illinois’ Public Act 102-1116, a/k/a Protect Illinois Communities Act, 720

ILCS 24-1.9, et seq.

        2.      Plaintiffs and the State Defendants—ISP Director Kelly, Attorney General Raoul,

and Governor Pritzker—have reached an agreement, subject to the Court’s approval, to streamline

the proceedings in these cases by entering an agreed stipulation regarding the briefing of Plaintiffs’

respective preliminary injunction motions.

        3.      Among other things, the agreed stipulation provides one deadline for one

consolidated response by the State Defendants to Plaintiffs’ motions for preliminary injunc tio n

(March 2, 2023), and another deadline for the State Defendants to answer or otherwise plead to all

of Plaintiffs’ respective complaints (March 16, 2023).

        4.      Entry of the agreed scheduling order is in the interest of judicial economy as it

provides for one consolidated response to Plaintiffs’ motions for preliminary injunction, rather

than four separate responses filed on varying dates repeating many of the same arguments. The



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scheduling order also addresses page limits for response briefs, deadlines for filing reply briefs,

and page limits for reply briefs.

        5.     This motion is being filed simultaneously in all above-captioned cases.

        6.     Pursuant to Section 2.10 of the CM/ECF User Manual, the proposed order is being

submitted to the Court’s proposed documents email address, with all counsel of record in all above-

captioned cases copied.

        WHEREFORE, the State Defendants request that the Court adopt and enter the agreed

stipulation.

Dated: February 17, 2023                              Respectfully submitted,

                                                       /s/ Laura K. Bautista
                                                      Laura K. Bautista, ARDC No. 6289023
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                                    CERTIFICATE OF SERVICE

        I certify that on February 17, 2023, I caused a copy of the foregoing to be electronically
filed with the Clerk of the Court using the CM/ECF system, which will send notification to all
counsel of record.

                                                      /s/ Laura K. Bautista
                                                      Laura K. Bautista
                                                      Assistant Chief Deputy Attorney General




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